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lN THE UN|TED STATES DISTR|CT COURT
NORTHERN DISTR|CT OF lLLlNOlS EASTERN DlVlSlON

lN RE: l\/laria Carrillo Case No.

Plaintil"f CO|\/lPLAlNT

Judge:

July Demand Requested

Client Services
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Defendant

 

Now comes Plaintiff, by and through her attorneys, and, for his Complaint alleges as
follows:

lNTRODUCTION

1. Plaintiff, l\/laria Carrillo, brings this action to secure redress from
unlawful collection practices engaged in by Defendant, Client Services.
Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15
U.S.C. Section 1692 et seq. (“FDCPA”).

2. The FDCP/-\ broadly prohibits any false, misleading or deceptive
threats in connection With the collection of a debt 15 U.S.C. Section
1692@.

3. A debt collection may not imply outcomes that are not legally able to
come to pass. Lox i/. CDA, Ltd, §§§ §.§C§ §':§ 825 (7th Cir. 2912)

4. “When language in a debt collection letter can reasonably be
interpreted to imply that the debt collector Will take action it has no
intention or ability to undertake, the dent collector that fails to clarify the
ambiguity at its peril.” Lox, 689 F.3d at 825.

5. The Seyenth Circuit has stated that "[W]hen language in a debt

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collection letter can reasonabty be interpreted to imply that the debt
colteotor wilt take action it has no intention o;r ability to undertal<e, the
debt collector that fails to clarify that ambiguity does so at its perilH Lo)<
v. CDA., Ltd., §§§ §§tt ute 825 (7th Cir. 2012) (cttiing Gonza/es

i/. Arrow F/'nanc/'a/ Sewices,LLCMM§§§, 1063 (§th Cir. 2011)).

6. ln l/l/ilder vs. J.C. Christensen &Associates, /nc. (Case No. 16-cv-
1979) (N.D.lL 2016), the Court stated “literally true conditional
language in a dunning letter can be deceptive if the action suggested is
legally prohibited.” ld.

7. The Sixth Circuit Court of Appeals stated “[l]f Plaintiff can show that
interest or charges could never accrue and therefore the balance owed
is truly fixed, then his claim should be allowed to go fon/vard to
determine if, underthose circumstances Defendants’ letter was
threatening or materially misleading.” l/l/alker \/s. Sherrneta, Adams,
\/on Al/menf, PC 623 F. App’X 764, 768 (6“‘ Cir. 2015).

8. ln Ty/ke vs. D/'vers/'fiedAd/'usfment Ser\/. /nc. 14-CV-748 (E.D. VVis.,
2014), the District Court held that a Defendant’s mention of a fee that
had “zero” next to it could be a violation of 15 U.S.C. Section 1692e.

JURISD|CT|ON AND VENUE
9. This court hasjurisdiction pursuant to 28 U.S.C. Section 1331, 1337,

1367; and 15 U.S.C. section 1692(d).
10.Venue is proper because a substantial part of the events giving rise to

this claim occurred in this District.
STAND|NG AND lNJURY

7.Plaintiff has suffered an injury in fact that is traceable to Defendant's

conduct and that is likely to be redressed by a favorable decision in this

matter.

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8. Specifically, Plaintiff suffered a concrete informational injury as a
result of Defendant's failure to provide truthful information in
connection with its attempt to collect an alleged debt from Plaintiff.

9. The Plaintiff has suffered and continues to suffer actual damages
as a result of the Defendant’s unlawful conductl

10.As a direct consequence of the Defendant’s acts, practices and
conduct, the Plaintiff suffered and continues to suffer from

humiliation, anger, anxiety, and frustration

PART|ES

11.Plaintiff, l\/laria Carri|lo (hereinafter “Plaintiff”) incurred an obligation
to pay money, the primary purpose of which was for personal,
family, or household uses (the “Debt”).

12.The Plaintiff’s name is l\/|aria Carrillo.

13. Plaintiff is a resident of the State of lllinois.

14.Defendant, Client Services, lnc. (“Defendant”), is a l\/lissouri
business entity with an address of 5757 Phantom Drive, Suite 330,
Hazelwood, l\/lO 63042 operating as a collection agency, and is a
“debt collector” as the term is defined by 15 U.S.C. Section
1692a(6).

15. Unless otherwise stated herein, the term “Defendant” shall refer to
Credit Control, LLC.

16.At some point, the original creditor, transferred this debt to
Defendant for debt collection.

ALLEGATIONS

17.The Plaintiff allegedly incurred a financial obligation in the
approximate amount of $5,408.20 (the “Debt”) to an original creditor
(the “Creditor”)

18.The Debt was purchased, assigned or transferred to Defendant for

collection, or Defendant was employed by the Creditor to collect to

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Debt.
19.The Defendant attempted to collect the Debt and, as such,

engaged in “communications” as defined in 15 U.S.C. Section

1692a(2).

20.0n April 17, 2017, Defendant mailed Plaintiff a collection letter.
See Exhibit.

21.The letter states “Balance Due At Charge-Off: $5,408.20” See
Exhibit

22.The letter states the following right under paragraph 21: “lnterest:
0.00;” “Other Charges: 0.00;” and “Payments l\/lade: 0.00.” See
Exhibit

23.Then, the letter went on to state “Current Balance: $5,408.20.” See
Exhibit

24.This was charged off prior to the debtor receiving this letter, there
can be no “Other Charges” at all.

25. Plaintiff is no longer receiving statements from creditor and can not
face late charges or any other type of charges

26.There is no possible legal outcome that could allow “Other
Charges”

27. By stating “Other Charges” as a separate category, then stating
that the original balance is only the balance for the date the letter
was sent, tells the unsophisticated consumer that there is at least a
possibility that the balance may rise due to the “Other Charges.”

28. lt is a violation of 15 U.S.C. Section 1692e to imply an outcome that
can not legally come to pass.

VlOLATlONS OF THE FDCPA-15 U.S.C. SECT|ON 1692, et seq.

29.The Plaintiff incorporates by reference all of the above paragraphs
of this Complaint as though fully stated herein.

30.The Defendants’ conduct violated 15 U.S.C. Section 1692e in that
the Defendant materially misled Plaintiff through this

communicationl

